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EXHIBIT E

 
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UNITED STATES DISTRICT COURT

DISTRICT OF NEW MEXICO

 

LEVITON MANUFACTURING CO., INC,

Plaintiff,

VS.

ZHEJIANG DONGZHENG ELECTRICAL CO., | CIVIL ACTION FILE
HARBOR FREIGHT TOOLS USA, INC.,
NICOR, INC., d/b/a NICOR LIGHTING &
FANS, CENTRAL PURCHASING, LLC,

NO. CIV-05-0301- RLP/DJS

Defendants.

 

 

DEFENDANT ZHEJIANG DONGZHENG ELECTRICAL CO.'S
RESPONSE TO PLAINTIFF'S FIRST INTERROGATORIES

Pursuant to the Federal Rules of Civil Procedure, Defendant Zhejiang
Dongzheng Electrical Co. (“Dongzheng”) hereby responds and objects to
Plaintiff's First Set of Interrogatories to Defendant Zhejiang Dongzheng

Electrical Co. (the “Interrogatories”) as follows.

GENERAL OBJECTIONS

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Dongzheng objects to the definition of “Dongzheng” and “Defendant”
on the grounds that such definition is overly broad and unduly burdensome

to the extent that the definition seeks to impose an obligation upon

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Dongzheng to respond on behalf of persons not parties to this action or who
otherwise do not have any duty to provide information to Dongzheng.

Z.

Dongzheng objects to the definition of “Dongzheng” and “Defendant”
to the extent that interrogatories using such definition seek information that is
subject to the attorney-client privilege, work product doctrine, or other
privilege or immunity from disclosure.

oh

Dongzheng objects to the definition of “ground fault circuit
interrupter” and “GFCI” on the grounds that such definitions are circular,

vague and ambiguous.

4.

Dongzheng objects to the instruction regarding the construction of the
terms “all” and “each” on the grounds that such instructions render any

interrogatory utilizing such terms vague and ambiguous.

Ds

Dongzheng objects to the instruction regarding the construction of the
terms “and” and “or” on the grounds that such instructions renders any

interrogatory utilizing such terms vague and ambiguous.

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6.

Dongzheng objects to the instructions regarding identification of
persons and documents as overly broad and unduly burdensome.
Dongzheng will identify documents and persons with sufficient particularity
that Plaintiff should reasonably be able to locate the same.

¥y

Dongzheng objects to the instructions regarding identification of
documents withheld on privilege grounds and responds that Dongzheng will
exchange privilege logs prepared in accordance with the Federal Rules of

Civil Procedure at a mutually agreed-to time and place.

8.

Dongzheng objects to the instructions and definitions to the extent that
the same exceed the obligations imposed under the Federal Rules of Civil

Procedure or applicable local rules.

Subject to the foregoing General Objections, and without waiving the
same, Dongzheng responds to the individually numbered interrogatories as

follows.

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INTERROGATORIES

Interrogatory No. 1:

Identify by model number or other unique designation for each model
of GFCI used, offered for sale or sold by Dongzheng and its predecessor-in-
interest, HML, in or to the United States, and for each identified model,
identify the manufacturer thereof, and if different, the person from whom the
GFCI was purchased, and state the unit and dollar sales of each such GFCI
and the profit earned both gross and net therefrom, by year, to date, resulting
from the sales thereof since 1999.

Response:

Dongzheng objects to this interrogatory on the grounds that it seeks
information that is not relevant to any claim of the parties in this action.
Dongzheng further objects to this request to the extent that it characterizes
HML as the predecessor in interest to Dongzheng, which characterization is
incorrect. Dongzheng further objects to this interrogatory on the grounds that
it is vague and ambiguous in its use of the phrase “GFCI manufactured, for
sale in or to, or used, offered for sale or sold by Dongzheng in or to the United
States.”

Subject to the foregoing specific objections, as well as the General

Objections set forth above, Dongzheng responds that as the information

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responsive to this interrogatory may be derived from a review of the business
records of Dongzheng and as the burden of deriving or ascertaining such
information is substantially the same between the parties, and pursuant to
Fed. R. Civ. P. 33(d), Dongzheng responds with documents produced
responsive to Document Request Nos. 5, 6, 9, 11, 16, 25, 26, 31, 32, 34, 35, 36,

37, 38, 39 and 41.

Interrogatory No. 2:

Separately identify, for each GFCI identified in response to
Interrogatory No. 1, at least three persons, with knowledge of the purchasing,
sales, marketing, advertising and promotion thereof.

Response:

Dongzheng objects to this interrogatory on the grounds that it is overly
broad and unduly burdensome to the extent that it seeks the identification of
at least three individuals with the most knowledge.. Dongzheng further
objects to this interrogatory on the grounds that it is overly broad and unduly
burdensome to the extent that it apparently seeks Dongzheng to “look into
the minds” of its employees to determine who has the “most” knowledge of
certain issues.

Subject to the General Objections set forth above, Dongzheng responds

that the individuals who appear to have substantial knowledge of the

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requested information are Mr. Fu Wang and Mr, Huai-Yin Song, who were
identified in Dongzheng’s Rule 26 disclosures, and Mr. Wei-quan Xiong, sales
representative, whose contact information is identical to that of Messrs, Wang

and Song.

Interrogatory No. 3:

Identify all communications between or among Dongzheng, Central
Purchasing, Harbor Freight, Nicor, HML, Shanghai Meihao, Van-Sheen,
Wenzhou, Shanghai ELE, and/or Trimone, or any GFCI customer, concerning
GFCIs since 1999, including but not limited to any communications
originating from or received at any of the following e-mail addresses:

(a) zhengxd@mail.wzptt.zj.cn;

(b) Zheng Angel [zhengxd@mail.wzptt.zj.cn];

(c) Zheng [zhengxd@mail.wzptt.zj.cn];

(d) Nancy [gfci@wz.zj.cn];

(e) dozg@mail.wzptt.zj.cn;

(f) dozg [SMTP: dozg@mail.wzptt.zj.cn];

(2) dozg [dozg@mail.wzptt.zj.cn];

(h) ray@dogz.com; and

(i) eva@dozg.com

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Response:

Dongzheng objects to this request to the extent it seeks information that
is not relevant to the claims of any party. Dongzheng further objects to this
interrogatory on the grounds that it is overly broad and unduly burdensome
in that it seeks all communication without regard to any subject relevant to
the claims of the parties and to the extent that it requires the identification of
separate individual communications. Dongzheng further objects on the
erounds that the request is not limited to GFCIs sold or offered for sale in the
United States.

Subject to the foregoing specific objections, as well as the General
Objections set forth above, Dongzheng responds that as the information
responsive to this interrogatory may be derived from a review of the business
records of Dongzheng and as the burden of deriving or ascertaining such
information is substantially the same between the. parties, and further
responds pursuant to Fed. R. Civ. P. 33(d), with documents produced

responsive to Document Request Nos, 6, 13, 31 and 35.

Interrogatory No. 4:

Identify the individuals represented by each of the e-mail addresses

listed in Interrogatory No. 3.

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Response:

Dongzheng objects to this request to the extent it seeks information that
is not relevant to the claims of any party.

Subject to the foregoing specific objection, as well as the General
Objections set forth above, Dongzheng responds that as the information
responsive to this interrogatory may be derived from a review of the business
records of Dongzheng and as the burden of deriving or ascertaining such
information is substantially the same between the parties, and further
responds pursuant to Fed. R. Civ. P. 33(d), with documents produced
responsive to Document Request Nos. 6, 13, 31 and 35. Subject to the
foregoing specific objections, as well as the General Objections set forth
above, Dongzheng further responds that “Angel” is Ms. Xiaodan Zheng,
“Ray” is Mr. Wupeng Lei, and “Eva” is Ms. Dongjuan Wu. Dongzheng is
continuing to investigate the “Nancy” address and- will supplement this
response with information regarding that address. The remaining email
addresses ate common user email addresses and are not identified with a

particular named user.

Interrogatory No. 5:

Identify all persons directly involved in promoting, offering for sale,

selling or shipping GFCIs on behalf of or from, Dongzheng, Harbor Freight,

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Nicor, Central Purchasing, HML, Shangai Meihao, Van-Sheen, Wenzhou,
Shangai ELE and/or Trimone, or any other supplier of GFCIs.
Response:

Dongzheng objects to this request to the extent it seeks information that
is not relevant to the claims of any party. Dongzheng further objects to this
interrogatory on the grounds that it is overly broad and unduly burdensome
in that it seeks the identity of all persons, which would include ministerial
personnel with no substantive involvement in sales or offers for sale of GFCIs
in the United States. Dongzheng further objects on the grounds that the
request is not limited to GFCIs sold or offered for sale in the United States.

Subject to the foregoing specific objections, as well as the General
Objections set forth above, Dongzheng responds that the following
individuals work in the International Sales Department and are involved with
sales and offers for sale of GFCIs in the United States: Mr. William Xiong, Ms.

Dongjuan Wu, Mr. Peishuai Wu, and Mr. Shi'en Wang.

Interrogatory No. 6:
If Dongzheng intends to rely upon opinion(s) or advice of counsel in
defense to Leviton’s claims of willful infringement, identify and describe with

particularity, all documents and communications pertaining to any opinions

of counsel regarding validity, enforceability and infringement of the °766

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Patent including documents provided to or considered by the person(s) who
prepared such opinions.
Response:

Dongzheng objects to this request to the extent that it seeks documents
subject to the attorney-client privilege, work product doctrine, or common
interest privilege.

Subject to the foregoing specific objections, as well as the General
Objections set forth above, Dongzheng has not yet determined whether it will
rely upon an opinion of counsel as a defense to Plaintiff's claim of willful
infringement. Dongzheng will agree to supplement this interrogatory
response in accordance with the scheduling order if such a determination is

made.

Interrogatory No. 7:

If Dongzheng contends that any of the GFCIs sold or offered for sale by
Dongzheng in or to the United States do not meet (either literally or by
equivalents) the limitations of any of claims 1-18 of the ‘766 Patent, then
identify which limitations of the claims are not met by an element of each of
Dongzheng’s GFCIs on a claim limitation-by-limitation basis (i.e., in claim
chart format), and set forth in detail why each such element does not meet

each such limitation.

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Response:

Dongzheng objects to this interrogatory on the grounds that it is overly
broad and unduly burdensome in that the Court has not yet construed the
terms of Claims 1-18 of the ‘766 Patent. Dongzheng further objects to this
interrogatory on the grounds that it seeks improperly to elicit the thought
processes and mental impressions of its counsel.

Dongzheng will agree to supplement its discovery response by
providing claim charts outlining its non-infringement contentions after the

issuance of the Court’s Markman order,

Interrogatory No. 8:

If Dongzheng contends any claim of the ‘766 Patent is invalid for
failure to comply with any portion of 35 U.S.C. § 112 ¢.g., best mode,
indefiniteness, written description, enablement, efc.), identify in detail the
specific basis for the failure of each limitation or each claim, so as to
demonstrate invalidity under 35 U.S.C. § 112 on a claim limitation-by-
limitation basis (i.e., in claim chart format).

Response:

Dongzheng objects to this interrogatory on the grounds that it is overly

broad and unduly burdensome in that the Court has not yet construed the

terms of Claims 1-18 of the ‘766 Patent. Dongzheng further objects to this

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interrogatory on the grounds that it seeks improperly to elicit the thought
processes and mental impressions of its counsel.

Dongzheng will agree to supplement its discovery response by
providing claim charts outlining its invalidity contentions after the issuance

of the Court’s Marknian order.

Interrogatory No. 9:

Identify each litigation pending prior to March of 2005 involving
questions of incorrect inventorship, nondisclosure of prior art, allegations of
fraud, inequitable conduct and violation of the duty to disclose, by Leviton, as
is alleged in the Counterclaims.

Response:

Dongzheng objects to this interrogatory on the grounds that it is overly
broad and unduly burdensome in that it asks for “each” litigation and
because the information is more readily available to Plaintiff.

Subject to the foregoing specific objections, as well as the General
Objections set forth above, Dongzheng identifies the following case: Shanghai
Meihao Electric, Inc. v. Leviton Manufacturing, Inc., Civil Action No. 1:03-cv-

02137-AMD, United States District Court for the District of Maryland.

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Interrogatory No. 10:

With respect to each litigation identified in the response to
Interrogatory 9, specify the particular pleading and paragraph in each
pleading where each question set forth in Interrogatory No. 9 was raised in
each litigation.

Respouse:

Dongzheng objects to this interrogatory on the grounds that it is overly
broad and unduly burdensome in that it asks for “each” litigation and
because the information is more readily available to Plaintiff.

Subject to the foregoing specific objections, as well as the General
Objections set forth above, Dongzheng responds that it is unaware of the
particular paragraphs of each pleading in which the questions set forth in

Interrogatory No. 9 were raised.

Interrogatory No. 11:

With respect to the “violation of the duty to disclose prior art” alleged
in the Counterclaims, identify each piece of prior art that Leviton is alleged
not to have disclosed and any prior litigation in which it was cited.

Response:

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Dongzheng objects to this interrogatory on the grounds that it is overly
broad and unduly burdensome in that it asks for “each” litigation and
because the information is more readily available to Plaintiff.

Subject to the foregoing specific objections, as well as the General
Objections set forth above, Dongzheng cites U.S. Patent Nos. 5,224,006,
5,875,087 which were cited in the litigation referenced in the response to
Interrogatory No. 9.

Interrogatory No. 12:

With respect to the “misjoinder of inventors” alleged in the
Counterclaims, identify each individual allegedly misjoined or not named
and the factual basis for asserting each such individual was misjoined or not
named.

Response:

Dongzheng objects to this interrogatory on the grounds that it is overly
broad and unduly burdensome in that it asks for information set forth in
detail in Answer and Amended Counterclaims filed in this action.

Subject to the foregoing specific objections, as well as the General
Objections set forth above, Dongzheng states that on October 22, 2003,
Leviton filed U.S. Patent Application Serial No. 10/690,776 (the “Germain

Application”). The Germain Application is entitled “Circuit Interrupting

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Device and System Utilizing Bridge Contact Mechanism and Reset
Lockout,” and names Frantz Germain, James Richter, David Herzfeld,
Armando Calixto, David Chan and Stephen Stewart as inventors. The
Germain Application claims the benefit of the ‘469 provisional application,
filed on February 3, 2003, which also names Frantz Germain, James Richter,
David Herzfeld, and Armando Calixto as inventors.

Neither Nicholas L. DiSalvo nor William R. Ziegler, the listed
inventors of the ‘766 patent, the patent-in-suit in this action, are named as
inventors of the subject matter of the Germain Application.

The ‘093 Application (which matured into the ‘766 patent) and the
Germain Application have no common inventors and neither application
claims priority to the other.

In preparing the ‘093 Application and the Petition to Make Special on
the basis of actual infringement, Leviton and/or its attorneys, copied the
language that claims the invention that is the subject of the Germain
Application and transposed it, virtually verbatim, to the ‘093 Application.
Claim 31 of the Germain Application recites:

“A circuit interrupting device comprising:

a first electrical conductor capable of being electrically
connected to a source of electricity;

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a second electrical conductor capable of conducting electrical
current to a load when electrically connected to said first
electrical conductor;

a third electrical conductor capable of being electrically
connected to user accessible plugs and/or receptacles where
the first, second and third electrical conductors are electrically
isolated from each other;

a movable bridge electrically connected to the first electrical
conductor, said movable bridge capable of electrically
connecting the first, second and third electrical conductors to
each other;

a circuit interrupting portion configured to cause electrical
discontinuity between said first, second and third electrical
conductors upon the occurrence of a predetermined condition;
and

a reset portion configured to reestablish elecirical continuity
between the first, second and third electrical conductors after
said predetermined condition occurs.”

Claim 1 of the “766 Patent recites:
“A circuit interrupting device comprising:

a first electrical conductor capable of being electrically
connected to a source of electricity;

a second electrical conductor capable of conducting electrical
current to a load when electrically connected to said first
electrical conductor;

a third electrical conductor capable of being electrically
connected to user accessible plugs and/or receptacles where
the first, second and third electrical conductors are electrically
isolated from each other;

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at least one movable bridge electrically connected to the first
electrical conductor, said at least one movable bridge capable of
electrically connecting the first, second and third electrical
conductors to each other;

a circuit interrupting portion configured to cause electrical
discontinuity between said first, second and third electrical
conductors upon the occurrence of a predetermined condition;
and

a reset portion configured to reestablish electrical continuity
between the first, second and third electrical conductors after
said predetermined condition occurs.”

Claim 31 of the Germain Application differs from claim 1 of the ‘766
patent only by the substitution of “at least one movable bridge” in place of
“a movable bridge.”

Claim 42 of the Germain Application recites:
“A circuit interrupting device comprising:

a first pair of terminals capable of being electrically connected
to a source of electricity;

a second pair of terminals capable of conducting electrical
current to a load when electrically connected to said first pair of
terminals;

a third pair of terminals capable of being electrically connected
to user accessible plugs and/or receptacles where the first ,
second and third pair of terminals are electrically isolated from
each other;

a pair of movable bridges electrically connected to the first pair
of terminals, said movable bridges being capable of electrically

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connecting the first, second and third pairs of terminals to each
other;

a circuit interrupting portion configured to cause electrical
discontinuity between said first, second and third pairs of
terminals upon the occurrence of a predetermined condition;
and

a reset portion configured to reestablish electrical continuity
between the first, second and third pairs of terminals after said
predetermined condition occurs.”

Claim 11 of the ‘766 Patent recites:
“A circuit interrupting device comprising:

a first pair of terminals capable of being electrically connected
to a source of electricity;

a second pair of terminals capable of conducting electrical
current to a load when electrically connected to said first pair of
terminals;

a third pair of terminals capable of being electrically connected
to user accessible plugs and/or receptacles where the first ,
second and third pair of terminals are electrically isolated from
each other;

at least one movable bridge electrically connected to the first
pair of terminals, said at least one movable bridge being
capable of electrically connecting the first, second and third
pairs of terminals to each other;

a circuit interrupting portion configured to cause electrical
discontinuity between said first, second and third pairs of
terminals upon the occurrence of a predetermined condition;
and

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a reset portion configured to reestablish electrical continuity
between the first, second and third pairs of terminals after said
predetermined condition occurs.”

Claim 42 of the Germain Application differs from claim 11 of the ‘766
Patent only by the substitution of “at least one movable bridge” in place of “a
pair of movable bridges.”

The dependent claims of the ‘766 Patent have virtually identical
language to the dependent claims in the Germain application.

The claims of the Germain application and the ‘766 Patent cover the
same patentable invention, or are an obvious variant of each other.

At no time during the prosecution of the ‘093 Application did any of
Leviton's attorneys, including Mr. Magidoff, Mr. Narcisse and Mr. Sutton, or
anyone at Leviton, inform the PTO that the ‘093 application and the Germain
application contained claims of identical scope and/or almost verbatim
language.

The actual filing date of the “766 Patent was about five months later than
the actual filing date of the Germain application. The term “movable bridge” is
found nowhere in the specification of the ‘766 Patent. Rather, this term is
found in the Germain Application, which strongly suggests that Leviton copied

the claims of the Germain Application to those of the “766 Patent, with the

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intent of improperly extending the priority date for the ‘766 Patent back to

August 20, 1999, the actual filing date for U.S. Patent No. 6,246,558.

Interrogatory No. 13:

With respect to the assertions alleged in the Counterclaims, that
“Leviton refused to grant a license to Harbor Freight because the retail prices
.., are not comparable...” set forth the factual basis for those assertions.
Response:

Dongzheng objects to this interrogatory on the grounds that it is overly
broad and unduly burdensome in that it asks for information set forth in
detail in Answer and Amended Counterclaims filed in this action.

Subject to the foregoing specific objections, as well as the General
Objections set forth above, Dongzheng states that it is informed that Harbor
Freight offered to enter into a license with Leviton covering the ‘558 Patent, the
‘766 Patent and related patents, which license would cover Harbor Freight’s
sales of GFCI’s with reverse wiring protection in May 2005. Leviton never
responded to Harbor Freight’s offer. Based upon Leviton’s willingness to enter
into a license with Cooper, which company charges comparable retail prices to

Leviton, Leviton’s refusal to grant a license to Harbor Freight appears to be

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because the retail prices of GFCI’s sold by Harbor Freight are not comparable

to the retail prices of Leviton’s GFCI’s,

Interrogatory No. 14:

With respect to the allegation set forth in the Counterclaims that “UL
has a Patent Policy that requires companies, such as Leviton, to disclose the
existence of any patents or patent applications, which would be implicated by
a proposed UL/ANSI standard,” identify each document or other factual
basis setting out such Patent Policy.

Response:

Dongzheng objects to this interrogatory on the grounds that it is overly
broad and unduly burdensome in that it asks for information that is equally
readily available to Plaintiff.

Subject to the foregoing specific objections, as well as the General
Objections set forth above, Dongzheng cites the following URL, which
includes information regarding UL’s Patent Policy:

http:/ /ulstandardsinfonet.ul.com/stp/patentpolicy.himl .

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This 3rd day of February, 2006

Respec mitted,
| fs

John P.F ry

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UNITED STATES DISTRICT COURT

DISTRICT OF NEW MEXICO

 

LEVITON MANUFACTURING CO., INC,

Plaintiff,
VS.

ZHEJIANG DONGZHENG ELECTRICAL CO,, | CIVIL ACTION FILE
HARBOR FREIGHT TOOLS USA, INC.,
NICOR, INC., d/b/a NICOR LIGHTING & NO, CIV-05-0301- RLP/DJS
FANS, CENTRAL PURCHASING, LLC,

Defendants.

 

 

CERTIFICATE OF SERVICE
[hereby certify a true and correct copy of the foregoing DEFENDANT
ZHEJIANG DONGZHENG- ELECTRICAL CO’S RESPONSE TO
PLAINTIFF’S FIRST INTERROGATORIES was delivered via electronic mail

and first class mail, postage prepaid and addressed as follows:

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This 3rd day of February, 2006.

 

Bryan G. Harrison

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